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                          SO ORDERED.
                    s/ Leda Dunn Wettre, U.S.M.J.
                   Dated: ___________________
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 We provided counsel for Plaintiff with a draft of this letter on Friday, August 9, 2024, and requested
 that they consent to our sending the letter on behalf of all parties. We requested that Plaintiff’s
 counsel advise of their position by today at 12:30 pm, but Plaintiff’s counsel has not responded.

 We greatly appreciate Your Honor’s attention to this matter. If Your Honor has any questions,
 please do not hesitate to contact us.

 Respectfully submitted,


 /s/ Loly Garcia Tor

 Loly Garcia Tor


 cc:      All counsel of record [via ECF]




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                                                                                           August 12, 2024
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